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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                  )
                                                  )
KEY HARBOR, LLC                                   )
d/b/a JAWS MARINE,                                )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )            Case No. DLB-21-2397
                                                  )
RANDOLPH BENNETT,                                 )
                                                  )           In Admiralty
       Defendant,                                 )
                                                  )
YP 680,                                           )
                                                  )
YP 677,                                           )
                                                  )
       Garnishees.                                )
                                                  )

                           ORDER FOR MARITIME
              WRIT OF ATTACHMENT & GARNISHMENT QUASI IN REM

       Upon consideration of Plaintiff Key Harbor, LLC’s Motion for Maritime Writ of

Attachment and Garnishment, quasi in rem, ECF 3, it is hereby

       1.      ORDERED that Key Harbor’s Motion for Maritime Writ of Attachment and

Garnishment, quasi in rem, is hereby GRANTED; and it is further

       2.      ORDERED that the Clerk of Court will issue a maritime writ of attachment and

garnishment, quasi in rem, against YP 680 and YP 677; and it is further

       3.      ORDERED that the United States Marshal for the District of Maryland shall attach

these vessels with notice to all persons claiming any interest therein to appear and file their claims

and answer Key Harbor’s verified complaint; and it is further



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        4.      ORDERED that under LAR (d), the statement of interest and answer required by

Federal Supplemental Rules for Admiralty or Maritime Claims must be filed on a date on or before

ten days after arrest.




               September 23, 2021
        Date: _______________________              ____________________________________
                                                   Deborah L. Boardman
                                                   United States District Judge




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